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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

Tim Swike,                               )
                                         )
          Plaintiff,                     )
                                         )
          v.                             )        No.   1:12-cv-1673
                                         )
Med-1 Solutions, LLC, an Indiana limited )
liability company,                       )
                                         )
          Defendant.                     )        Jury Demanded

                                       COMPLAINT

       Plaintiff, Tim Swike, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for Defendant’s violation of the

FDCPA, and alleges:

                              JURISDICTION AND VENUE

       1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.     Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                         PARTIES

       3.     Plaintiff, Tim Swike ("Swike"), is a citizen of the State of Indiana, residing

in the Southern District of Indiana, from whom Defendant attempted to collect a

delinquent consumer debt that was allegedly owed for medical services to Dr. Lang/St.

Vincent.
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       4.     Defendant, Med-1 Solutions, LLC (“Med-1”), is an Indiana limited liability

company, that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or the telephone to collect, or attempt to collect, delinquent

consumer debts, including delinquent consumer debts in the Southern District of

Indiana. In fact, Med-1 was acting as a debt collector as to the delinquent consumer

debt it attempted to collect from Mr. Swike.

       5.     Defendant Med-1 is authorized to conduct business in the State of Indiana

and maintains a registered agent there, see, records from the Indiana Secretary of

State, attached as Exhibit A. In fact, Med-1 conducts business in Indiana.

       6.     Defendant Med-1 is licensed as a debt collection agency in the State of

Indiana, see, record from the Indiana Secretary of State, Securities Division, attached

as Exhibit B. In fact, Defendant Med-1 acts as a collection agency in Indiana.

                               FACTUAL ALLEGATIONS

       7.     On September 26, 2012 and September 29, 2012, Defendant called Mr.

Swike attempting to collect a debt he allegedly owed for medical services. Mr. Swike

informed Defendant’s debt collector that he never received a bill from them.

       8.     Accordingly, on September 29, 2012, Mr. Swike, as is his right under §

1692(c) of the FDCPA sent Defendant a cease and desist letter, informing Med-1 that

he refused to pay the debt. Copies of this letter, and confirmation of its delivery by the

U.S. Postal Service, are attached as Group Exhibit C.

       9.     Nonetheless, Defendant’s debt collector called Mr. Swike on October 22,

2012, in an attempt to collect the medical debt.

       10.    Moreover, on November 7, 2012, Defendant’s debt collector, Tiffany,



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called Mr. Swike to again demand payment of the medical debt. Oddly, although the

debt collector confirmed to Mr. Swike that Med-1 had received Mr. Swike’s September

29, 2012 letter, she could not explain why Med-1 was still calling him about the debt.

      11.    All of Defendant’s collection actions complained of herein occurred within

one year of the date of this Complaint.

      12.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

      13.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      14.    Here, the September 29, 2012 letter from Mr. Swike told Defendant to

cease communications and cease collections by the refusal to pay (Group Exhibit C).

By continuing to communicate regarding this debt and demanding payment, Defendant

violated § 1692c(c) of the FDCPA.

      15.    Defendant Med-1’s violations of § 1692c(c) of the FDCPA render it liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Tim Swike, prays that this Court:

      1.     Find that Defendant’s debt collection actions violated the FDCPA;


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       2.     Enter judgment in favor of Plaintiff Swike, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Tim Swike, demands trial by jury.

                                                     Tim Swike,

                                                     By: /s/ David J. Philipps_________
                                                     One of Plaintiff's Attorneys

Dated: November 14, 2012

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